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              Exhibit C
     Case 1:18-cv-05427-JSR Document 97-3 Filed 03/19/19 Page 2 of 6

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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK
     ___________________________________________________________
      SIMO HOLDINGS, INC.,                      )
                                                )
      Plaintiff,                                )
                                                )
                vs.                             )No. 18-cv-5427-(JSR)
                                                )
      HONG KONG UCLOUDLINK NETWORK              )
     TECHNOLOGY LIMITED and UCLOUDLINK          )
     (AMERICA), LTD.,                           )
                                                )
      Defendants.                               )
     ___________________________________________________________
                   Deposition Upon Oral Examination Of
                             MARTIN FEUERSTEIN
                                 Volume II
               *** CONFIDENTIAL, ATTORNEYS' EYES ONLY ***
     ___________________________________________________________




                               9 o'clock a.m.
                             February 26, 2019
                            7401 164th Avenue NE
                            Redmond, Washington




     REPORTED BY:     Yvonne A. Southworth, CCR No. 2129.


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                                                                        '+.
  1   Q           All right.    Do you know whether that term
  2   was argued as part of the claims construction in this
  3   case?
  4   A           I do not.
  5   Q           Do you know if the Court construed the term,
  6   relaying, in Claim 8?
  7   A           I do not see that in the claim construction
  8   exhibit.
  9   Q           Were you the one who suggested that perhaps
 10   this limitation wasn't met, or was this suggested to
 11   you by someone else?
 12   A           I have a strong opinion about the "relay",
 13   and it has long-standing use in telecomm.          I guess the
 14   simplest example would be from normal life, a relay
 15   race.    You have a baton, and it gets handed from one
 16   person to the next, intact, as-is, without being taken
 17   apart or modified or repackaged into something else.
 18               That has a similar meaning in telecomm.         If
 19   something is relayed, if it's a particular message,
 20   it's received in a particular format and then relayed,
 21   re-sent in that same format to some other entity,
 22   which is consistent with the -- the definition that I
 23   gave in my report, to receive and pass on information
 24   or a message.
 25   Q           Okay.   I have two follow-up questions on


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  1   that.    When you talked about a relay race, the first
  2   runner in a relay already has the baton, do they not?
  3   A           Yes.   They start with the baton.
  4   Q           Right.   And so they can't get the baton from
  5   somewhere else.      They start with the baton and hand it
  6   to --
  7   A           Right.   We're always talking about, and the
  8   patent talks about, and the claim talks about a --
  9   some type of a request coming in and going out.           And
 10   that -- that coming in and going out of the message is
 11   the relaying.      So the most appropriate analogy to
 12   what's described in the claims and in the -- in the
 13   patent is, if you will, the stage of the relay race
 14   where one person is handing the baton off to another.
 15               Because they're sort of two legs.        There's
 16   one person handing off to the other.         And in the
 17   patent itself and in the claims, there's a request
 18   coming in and a request going out that is relayed.           So
 19   there are two legs to that.
 20   Q           All right.    You say that, but that's not how
 21   the claim is worded, is it, Dr. Feuerstein?          Isn't
 22   the -- isn't the activity before or the step before
 23   relaying that you establish a local authentication
 24   information request?      That happens before you relay
 25   it.   Isn't that true?


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  1   commentary in the middle of it, and then I show that
  2   to the jury, I'm relaying parts of your discussion
  3   here, aren't I?
  4   A           No.    I don't agree with that.
  5   Q           You don't think that's a relaying.        That's
  6   basically where we're coming from?
  7   A           Yes.
  8   Q           All right.    Can you point to anything in the
  9   patent that supports your definition that that's what
 10   relay means, without repackaging or anything like
 11   that?    Any line, any figure, anything at all?        And the
 12   reason why I ask is because it's not -- it's not in
 13   your report anywhere.      There's nothing cited in your
 14   report.
 15   A           So when I look at Figure 8, in the patent --
 16   Q           Okay.
 17   A           It clearly shows the service provider, 110,
 18   sending a request for authentication information to
 19   the client, 106.
 20   Q           I'm sorry.    Are you on Figure 3A?
 21   A           Figure 8.
 22   Q           I'm sorry.    I just misheard you.      I should
 23   have been paying closer attention.        Okay.    We're at
 24   Figure 8.
 25   A           Figure 8.    So there's a request for


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  1   authentication information that goes to the client,
  2   106.   That's line 804.     And there is, at line 806, a
  3   request for authentication information that's relayed
  4   to the administration system.
  5   Q           I'm sorry to stop you there.       But Figure 8
  6   doesn't say anything about relaying, does it?          The
  7   word, relay, doesn't appear there?
  8   A           From a person of ordinary skill in the art,
  9   this is the -- this diagram in Figure 8 is what we
 10   would typically call a call flow or message flow.            If
 11   it was a voice call, it would be a call flow.          If it
 12   was some kind of a data, it would be a message flow.
 13   These are clearly messages.       And the requests for
 14   authentication information and requests for --
 15   requests for authentication information that goes to
 16   the client, and the same request for authentication
 17   information is relayed from the client to the
 18   administration system, or admin system as it's labeled
 19   here, 116, which is -- just a moment, I'm not done --
 20   which is consistent with the claim language of
 21   relaying the local authentication information request
 22   to the remote administration system via the data
 23   communications link.      I think that's exactly what's
 24   shown here.    And the fact that this is authentication
 25   information, authentication information indicates that


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